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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9        PHILADELPHIA INDEMNITY
          INSURANCE COMPANY, a Pennsylvania          No. 2:19-cv-00138-RSM
10        corporation, as subrogee of DH&G, LLC.,
                                                     ORDER GRANTING JOINT MOTION
11                                Plaintiffs,        TO MODIFY CASE MANAGEMENT
                                                     AND SCHEDULING ORDER AND
12                           v.                      EXTEND TIME FOR FILING
                                                     DISPOSITIVE MOTIONS TO PERMIT
13        HEWLETT-PACKARD COMPANY,                   MEDIATION FIRST

14                                Defendants.

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16             THIS MATTER is before the Court on the parties’ Joint Motion to Modify Case

17   Management and Scheduling Order and Extend Time for Filing Dispositive Motions to Permit

18   Mediation First. All parties have been given notice and an opportunity to respond. Now, the

19   Court, having reviewed the motion and all submissions, and being fully apprised of the issues,

20   hereby finds and ORDERS that:

21             1.   The Joint Motion to Modify Case Management and Scheduling Order and Extend

22   Time for Filing Dispositive Motions to Permit Mediation First is GRANTED.

23   //

24   //


             ORDER – 1
             Case 2:19-cv-00138-RSM Document 30 Filed 11/01/21 Page 2 of 2



 1          2.    A revised case scheduling order consistent with the stipulation of the parties will

 2   be issued.

 3          IT IS SO ORDERED this 1st day of November, 2021.

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                                                RICARDO S. MARTINEZ
 7                                              CHIEF UNITED STATES DISTRICT JUDGE

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           ORDER – 2
